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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                            MIDLAND/ODESSA DIVISION

UNITED STATES OF AMERICA,                       §
            Respondent                          §
                                                §               MO-22-CR-00109-DC
v.                                              §               MO-24-CV-00111
                                                §
(3) LOPEZ MATEO MATEO,                          §
             Movant                             §

                 ORDER DISMISSING CASE FOR WANT OF PROSECUTION
                   AND DENYING A CERTIFICATE OF APPEALABILITY

       Before the Court is Movant Lopez Mateo Mateo’s Motion to Vacate, which was filed

pursuant to 28 U.S.C. §2255 (§2255) on April 22, 2024. [docket number 141]. Service was

effectuated, and the Government responded on July 1, 2024. [docket numbers 142 & 143,

respectively].

       On September 24, 2024, this Court issued its first of two Orders to Show Cause

concerning his conclusory claim about the alleged failure of trial counsel to file a notice of

appeal in his case. [docket numbers 146]. Movant responded to the first Order to Show Cause,

but with a less-than-satisfactory series of non-answers, without the explanation or detail the

Court had requested. [See docket number 148].

       The Court then issued its second Order to Show Cause, stressing that “The Court wants to

know what actually happened and what was said by Movant and by counsel about a notice of

appeal, before and after sentencing, in great detail.” [docket number 149 at 2] (emphasis in

original). However, Movant has failed to respond to the second Order to Show Cause, which was

issued October 23, 2024. [See generally docket]. Movant’s response was due no later than

November 22, 2024. It is now 2025, and there is no reason to believe Movant did not receive the
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second Order to Show Cause. Movant has also not asked for additional time to comply nor

communicated with this Court in any way since October 18, 2024. [Id.].

         The issue before the Court is one of procedure created by Movant’s lack of involvement

in his own litigation and failure to appropriately respond to the second Order to Show Cause

issued by this Court. [docket number 149]. The Court is given the authority to enter an

involuntary dismissal “[f]or failure of the Petitioner to prosecute or to comply with these rules or

any order of the court” under Rule 41(b) of the Federal Rules of Civil Procedure. Fed. R. Civ. P.

41(b); see McCullough v. Lynaugh, 835 F.2d 1126, 1127 (5th Cir. 1988). In this case, Movant

has ignored the Court’s second Order to Show Cause by not responding at all. This demonstrates

Movant’s complete failure to prosecute his case and comply with the second Order to Show

Cause from this Court.

         The Court finds that the only remedy available considering Movant’s inaction is to

dismiss the §2255 for want of prosecution under Rule 41(b). For the same reasons, the Court

further finds that this §2255 should be dismissed in the interest of judicial economy. The Court

shall dismiss this §2255 without prejudice to allow Movant another opportunity to raise his

claims, if necessary. Callip v. Harris Cnty. Child Welfare Dep’t, 757 F.2d 1513, 1519 (5th Cir.

1985) (citations omitted) (finding that, unless otherwise specified, a dismissal for want of

prosecution is a “complete adjudication on the merits, and thus with prejudice”). Therefore,

Movant’s §2255 shall be dismissed for want of prosecution without prejudice.

         If, within 30 days from the date of this Order, Movant fully answers all the questions

posed in the second Order to Show Cause, this Court will reopen this case and rule on the merits.

Fed. R. Civ. P. 60(b). After 30 days, Movant will have to file a new §2255 to get the relief he

seeks.



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       Because the Motion to Vacate filed here is governed by the Antiterrorism and Effective

Death Penalty Act, codified as amended at 28 U.S.C. §2253, a certificate of appealability (COA)

is required before an appeal may proceed. See Hallmark v. Johnson, 118 F.3d 1073, 1076 (5th

Cir. 1997) (noting that actions filed under either 28 U.S.C. §2254 or §2255 require a certificate

of appealability). “This is a jurisdictional prerequisite because the COA statute mandates that

‘[u]nless a circuit justice or judge issues a certificate of appealability, an appeal may not be taken

to the court of appeals ....’” Miller-El v. Cockrell, 537 U.S. 322, 336, 123 S.Ct. 1029, 154

L.Ed.2d 931 (2003) (citing 28 U.S.C. §2253(c)(1)).

       A certificate of appealability will not issue unless Movant makes “a substantial showing

of the denial of a constitutional right,” pursuant to 28 U.S.C. §2253(c)(2), which requires a

petitioner to demonstrate “that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong.” Tennard v. Dretke, 542 U.S. 274, 282, 124 S.Ct.

2562, 159 L.Ed.2d 384 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484, 120 S.Ct. 1595,

146 L.Ed.2d 542 (2000)). Under the controlling standard, this requires a petitioner to show “that

reasonable jurists could debate whether (or, for that matter, agree that) the petition should have

been resolved in a different manner or that the issues presented were ‘adequate to deserve

encouragement to proceed further.’” Miller-El, 537 U.S. at 336. When denial of relief is based on

procedural grounds, the petitioner must show not only that “jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional right,” but also

that they “would find it debatable whether the district court was correct in its procedural ruling.”

Slack, 529 U.S. at 484.

       A district court may deny a certificate of appealability, sua sponte, without requiring

further briefing or argument. See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000). For



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the reasons discussed in the opinion, the Court concludes that jurists of reason would not debate

whether any ruling was correct or whether Movant stated a valid claim of the denial of a

constitutional right. Therefore, a certificate of appealability will not issue in this case.

        As a result, it is hereby ORDERED that Movant’s Motion to Vacate, filed pursuant to 28

U.S.C. §2255, is DISMISSED WITHOUT PREJUDICE for WANT OF PROSECUTION

AND A CERTIFICATE OF APPEALABILITY WILL NOT ISSUE IN THIS CASE.

        It is so ORDERED.

        SIGNED this 4th day of January, 2025.




                                        DAVID COUNTS
                                        UNITED STATES DISTRICT JUDGE




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